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                     Supreme Court of Tennessee
                     Certificate o.f Good Standing



      I, James ~~11-Iivner, Clerk c?f the Supreme Court of the State c?fTennessee.
do hereby certijj that
                 1




                           Nicholas Ryan Barry


is a licensed and practicing attorney of the Courts of this State. having been
admitted to practice on November 5. 20.13, and is presently in good standing. The
Supre,ne Court is the Court of last resort in Tennessee.


       In testimony whereof,' I have set my hand and C{f}ixed the seal of the Court on
this the 1st day qf November, 2023.



                                 Jame{• M. Hivner
                              ~--~      1 the Supreme Court of Tennessee
